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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0081-TLN-2
12                                Plaintiff,             STIPULATION AND ORDER TO ADVANCE
                                                         STATUS CONFERENCE
13                          v.
                                                         Date:     June 13, 2019
14   SALVADOR PADILLA III,                               Time:     9:30 a.m.
                                                         Judge:    Hon. Troy L. Nunley
15                                Defendant.
16

17          Plaintiff United States of America, through its respective counsel, and defendant Salvador Padilla,

18 through his counsel of record, stipulate that the status conference now set for June 13, 2019, be advanced

19 by three weeks, to May 23, 2019, at 9:30 a.m.

20          On May 2, 2019, the parties appeared for a status hearing, during which the Court set a briefing

21 schedule on Mr. Padilla’s pending motions, filed at docket entries 63 and 64. (Dkt. No. 75.) The Court

22 set this matter for a motions hearing and further status conference on June 13, 2019. (Id.)

23          The parties are prepared to resolve this case through a plea agreement and would like to do so

24 without delay. Moments ago, the parties filed an executed copy of the plea agreement. (Dkt. No. 83.)

25 Although this case is currently set for a status hearing on June 13, the parties are asking to advance the

26 hearing by three weeks, to May 23, for a change of plea. Time under the Speedy Trial Act has already

27 been excluded through June 13 (Dkt. No. 75), so no additional finding regarding an exclusion of time is

28 required.

      STIPULATION AND ORDER TO ADVANCE STATUS            1
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 1         Mr. Padilla, through counsel, will make an oral motion to withdraw the pending motions (Dkt.

 2 Nos. 63 and 64) at the May 23 status conference.

 3         Based on the foregoing, the parties stipulate that the status conference currently set for June 13,

 4 2019, be advanced to May 23, 2019, at 9:30 a.m.

 5                                                       Respectfully submitted,

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 7 Dated: May 14, 2019                                   _/s/ Timothy H. Delgado____________
                                                         TIMOTHY H. DELGADO
 8                                                       Assistant United States Attorney
                                                         Counsel for Plaintiff United States
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10
     Dated: May 14, 2019                                 _/s/ THD for Shari G. Rusk__________
11                                                       SHARI G. RUSK
                                                         Attorney at Law
12                                                       Counsel for Defendant Salvador Padilla III
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      STIPULATION AND ORDER TO ADVANCE STATUS            2
      CONFERENCE
               Case 2:18-cr-00081-TLN Document 85 Filed 05/14/19 Page 3 of 3


 1                                                      ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing,

 3 adopts the parties’ stipulation in its entirety as its order. For the reasons stated in the parties’ stipulation,

 4 the June 13, 2019 status conference is advanced by three weeks, to May 23, 2019. Time under the Speedy

 5 Trial Act has already been excluded through that date. (Minutes, Dkt. No. 75.)

 6          SO ORDERED.

 7 Dated: May 14, 2019

 8                                                             Troy L. Nunley
                                                               United States District Judge
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      STIPULATION AND ORDER TO ADVANCE STATUS              3
      CONFERENCE
